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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION
UNITES STATES OF AMERICA        §
     Plaintiff,                 §
                                §
       v.                       §                CASE NO. 7:20-CV-165
                                §
11.580 ACRES OF LAND, MORE OR   §
LESS, SITUATED IN STARR COUNTY, §
STATE OF TEXAS; AND VIOLA       §
GARZA, et al.,                  §
       Defendants.              §


    DEFENDANTS’, VIOLA GARZA, ALMA LYDIA COPLEN, FELIX TADEO
 MARTINEZ, ALICIA M. KOENEKE, SONIA M. MORTON, MARIA O. GARZA, AND
     ILEANA M. BACA, FIRST AMENDED ANSWER AND JURY DEMAND


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COME NOW Viola Garza, Alma Lydia Coplen, Felix Tadeo Martinez, Alicia M.

Koeneke, Sonia M. Morton, Maria O. Garza, and Ileana M. Baca, Defendants in the above

entitled and numbered cause, and file this Amended Answer and Jury Demand under authority of

Rule 71.1(e)(2) of the Federal Rules of Civil Procedure in response to United States of

America’s Motion to Correct Schedule “A” Due to Scrivener’s Error and United States of

America’s Complaint in Condemnation and Declaration of Taking, and would show the Court as

follows:

RESPONSE TO COMPLAINT IN CONDEMNATION (DOCUMENT 1):

   1. Defendants are without knowledge sufficient to form a belief as to the truth of the
      allegations in section 1.

   2. Defendants admit the allegations in section 2, subject to their objections and defenses
      hereinafter.




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  3. Defendants are without knowledge sufficient to form a belief as to the truth of the
     allegations in section 3.

  4. Defendants are without knowledge sufficient to form a belief as to the truth of the
     allegations in section 4.

  5. Upon information and belief, Defendants collectively own an undivided 75% interest in
     Property at issue.

  6. To the extent that section 6 requires an answer, Defendants object to the extent that said
     Schedule “E” fails to identify or properly describe the location of access gates to the
     riverside remainder.

  7. To the extent that section 7 requires an answer, Defendants object to the extent that said
     Schedule “F” does not justly compensate Defendants for their interest in the land being
     taken or the damages to the whole, including the riverside remainder being affected by
     the condemnation efforts.

  8. Defendants are without knowledge sufficient to form a belief as to the truth of the
     allegations in section 8.

  9. Defendants are without knowledge sufficient to form a belief as to the truth of the
     allegations in section 9.

  10. Defendants deny that Plaintiff is entitled to a judgment or any other relief prayed for in
      the prayer of the Complaint in Condemnation.

RESPONSE TO DECLARATION OF TAKING (DOCUMENT 2):

  1. Defendants are without knowledge sufficient to form a belief as to the truth of the
     allegations in section 1.

  2. Defendants admit the allegations in section 2, subject to their objections and defenses set
     out hereinafter.

  3. Defendants are without knowledge sufficient to form a belief as to the truth of the
     allegations in section 3.

  4. Defendants are without knowledge sufficient to form a belief as to the truth of the
     allegations in section 4.

  5. To the extent that section 5 requires an answer, Defendants collectively own an undivided
     75% interest in Property at issue. Further, Defendants object to the extent that Schedule
     “E” fails to identify or properly describe the location of access gates to the riverside
     remainder.

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   6. Defendants deny that the sum estimated is just compensation for the land being
      condemned. Defendants assert that the just compensation is much greater, in part, due to
      the fact that Plaintiff has not properly taken into account: the remainder damages
      (including but not limited to riverside remainder damages), the reduced value due to
      access limitations, failure to rely upon legitimate comparable sales, failure to consider the
      longstanding lease history, and failure to consider the valuable characteristics of the part
      taken. Pursuant to Rule 71.1(h)(1)(B), Fed. R. Civ. P., Defendants request and demand a
      trial by jury to establish the just and fair compensation for the land being taken and the
      remainder being affected.

   7. To the extent that section 7 requires an answer, Defendants collectively own an undivided
      75% interest in Property at issue.

   8. Defendants deny that Plaintiff had made its best efforts to negotiate the acquisition of the
      property interest sought prior to filing the condemnation action. Specifically, Defendants
      contend that Plaintiff failed to negotiate in good faith, attempted to coerce Defendant into
      accepting a wholly unreasonable initial offer by threatening litigation, withholding
      relevant and necessary information and documentation (after being requested numerous
      times) in an attempt to conceal the fact that the initial offer was wholly unreasonable and
      restrict Defendants’ ability to analyze the alleged initial “good faith offer.”

DEFENDANTS’ OBJECTIONS AND DEFENSES:

       Pursuant to Fed. R. Civ. P. 71.1(e)(2), Defendants set out all of the following objections

and defenses to the Complaint in Condemnation and Declaration for Taking. Defendants would

show as follows:

   1. Defendants object to the Complaint in Condemnation and Plaintiff’s Motion for
      Immediate Possession based on the fact that U.S. Customs and Border Protection has
      failed to conduct any current and up-to-date independent Analysis of Alternatives to
      identify the most appropriate and effective solutions to obtain complete operational
      control of the southern border. “Although directed to do so by Congress and the
      Department, CBP did not conduct an AoA to assess and select the most effective,
      appropriate, and affordable solutions to obtain operation control of the southern border.”
      See Office of Inspector General Memorandum 20-52, “CBP Has Not Demonstrated
      Acquisition Capabilities Needed to Secure the Southern Border,” dated July 14, 2020 at
      7.

   2. Defendants object to the Complaint in Condemnation and Plaintiff’s Motion for
      Immediate Possession based on the fact that U.S. Customs and Border Protection has
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   failed to “use a sound, well-documented methodology to identify and prioritize
   investments in areas along the border that would best benefit from physical barriers.” See
   Office of Inspector General Memorandum 20-52, “CBP Has Not Demonstrated
   Acquisition Capabilities Needed to Secure the Southern Border,” dated July 14, 2020 at
   1.

3. Defendants object to the Complaint in Condemnation and Plaintiff’s Motion for
   Immediate Possession based on the fact that U.S. Customs and Border Protection has
   failed to satisfy the congressional requirements that it submit a risk-based plan for
   improving security along the U.S. border that identifies the planned locations, quantities,
   and types of resources, which also was to include a description of the sound methodology
   and analyses used to select specific resources for deployment to particular locations. See
   Office of Inspector General Memorandum 20-52, “CBP Has Not Demonstrated
   Acquisition Capabilities Needed to Secure the Southern Border,” dated July 14, 2020 at
   8-9.

4. The Act of Congress approved February 15, 2019, as Public Law 116-6, div. A. tit. II,
   Section 230, requires that “[n]ot later than 180 days after the date of the enactment of this
   Act, the Secretary of Homeland Security shall submit to the Committee on
   Appropriations of the Senate, the Committee on Appropriations of the House of
   Representatives, and the Comptroller General of the United States an updated risk-based
   plan for improving security along the borders of the United States that includes the
   elements required under subsection (a) of section 231 of division F of the Consolidated
   Appropriations Act, 2018 (Public Law 115-141), which shall be evaluated in accordance
   with subsection (b) of such section. To the extent applicable, Plaintiff has failed to show
   compliance.

5. The Act of Congress approved February 15, 2019, as Public Law 116-6, div. A. tit. II,
   Section 232, requires that “[p]rior to use of any funds made available by this Act for the
   construction of physical barriers within the city limits of any city or census designated
   place described in subsection (c), the Department of Homeland Security and the local
   elected officials of such a city or census designated place shall confer and seek to reach
   mutual agreement regarding the design and alignment of physical barriers within that city
   or the census designated place (as the case may be). Such consultations shall continue
   until September 30, 2019 (or until agreement is reached, if earlier) and may be extended
   beyond that date by agreement of the parties, and no funds made available in this Act
   shall be used for such construction while consultations are continuing. To the extent
   applicable, Plaintiff has failed to show compliance.




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6. Plaintiff failed to abide by the requirements of Title 8 USCA § 1103(B), in that Plaintiff
   did not engage in good faith negotiation with Defendants prior to filing the present
   condemnation proceeding. Specifically, Defendants contend that Plaintiff failed to
   negotiate in good faith, attempted to coerce Defendant into accepting a wholly
   unreasonable initial offer by threatening litigation, withholding relevant and necessary
   information and documentation (after being requested numerous times) in an attempt to
   conceal the fact that the initial offer was wholly unreasonable and restrict Defendants’
   ability to analyze the alleged initial “good faith offer.” As such, Defendants request that
   this cause be dismissed in accordance with Fed. R. Civ. Proc. 71.1(i)(1)(C). Defendants
   further ask that this Court order Plaintiff to provide all the information used to determine
   “just compensation,” including appraisal reports which have not been produced.

7. Defendants object to the extent Plaintiff’s alleged just compensation was determined by
   appraisals which violate USPAP. Defendants request that Plaintiff be required to obtain
   valid appraisals which be performed in accordance with all USPAP regulations, and
   subsequently initiate good faith negotiations with Defendants.

8. Defendants object to the extent Plaintiff’s alleged just compensation value was
   determined by appraisals done significantly prior to the initiation of the condemnation
   proceeding. Defendants request that Plaintiff be required to obtain current and accurate
   valuations of the Property at issue and subsequently initiate good faith negotiations with
   Defendants.

9. Defendants object to the extent that Plaintiff has failed to perform an annual risk
   assessment in relation to the alleged illegal crossings on the Property at issue.

10. Defendants object to the extent Plaintiff has failed to present evidence to this Court or
    Defendants that there is an operational need for the present taking and border barrier
    being proposed. Defendants further request that this Court order Plaintiff to provide all
    the information and documentation regarding the alleged operation need in relation to the
    Property at issue.

11. Defendants object to the extent that Plaintiff has failed to present hydrology reports and
    IBWC approval in relation to the border barrier to be constructed on Property at issue.
    Defendants further request that this Court order Plaintiff to provide all hydrology reports
    and IBWC approvals in relation to the border barrier to be constructed on Property at
    issue.

12. Defendants object to the extent that Plaintiff has failed to present geotechnical studies
    and environmental approvals in relation to the border barrier to be constructed on
    Property at issue. Defendants further request that this Court order Plaintiff to provide all
    geotechnical studies and environmental approvals in relation to the border barrier to be
    constructed on Property at issue.

13. Defendants object to the extent that Plaintiff has failed to present a full and complete
    project plan to Defendants in relation to the border barrier to be constructed on Property

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   at issue. Defendants further request that this Court order Plaintiff to provide a full and
   complete project plan in relation to the border barrier to be constructed on Property at
   issue.

14. Defendants object to the extent that Plaintiff has failed to identify the origin and approval
    of the funding for the border barrier to be constructed on the Property at issue.
    Defendants further request that this Court order Plaintiff to provide information
    evidencing the origin and approval of the funding for the border barrier to be constructed
    on Property at issue.

15. Defendants object to the extent that the public purpose for which the interest in the
    property is being taken may exceed the statutory authorization in Title 8 USCA § 1103(b)
    and note.

16. Defendants object to the extent that Plaintiff’s actions are unconstitutional.

17. Defendants object to the extent Plaintiff’s actions are in violation of the due process
    clause of the United States Constitution and constitute a violation of Defendants’ rights
    of due process provided under the United States Constitution.

18. To the extent that parts of the Endangered Species Act (“ESA”) of 2017, 16 U.S.C. §
    1536(a)(2) may apply, Plaintiff should be required to comply with those applicable
    provisions.

19. The Consolidated Appropriations Act, 2008, Pub. L. No. 110-161, § 564, 121 Stat. 1844,
    2090-91 (2007), requires Plaintiff to “consult with the Secretary of the Interior, the
    Secretary of Agriculture, States, local governments, Indian tribes, and property owners in
    the United States to minimize the impact on the environment, culture, commerce, and
    quality of life for the communities and residents located near the sites at which such
    fencing is to be constructed.” To the extent applicable, Plaintiff has failed to conduct any
    meaningful consultation with the Defendants and has failed to show compliance.

20. The Act of Congress approved March 23, 2018, as Public Law 115-141, div. F. tit. II,
    Section 230, requires Plaintiff to have a plan to consult with State and local elected
    officials on the eminent domain and construction process relating to physical barriers;
    and analysis, following consultation with the Secretary of the Interior and the
    Administrator of the Environmental Protection Agency, of environmental impacts, and a
    certification by the Under Secretary of Homeland Security for Management that the plan
    was review and approved and all activities under the plan complied with the acquisition
    rules, requirements, guidelines and practices. To the extent applicable, Plaintiff has failed
    to show compliance.



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21. To the extent that parts of the Uniform Relocation Assistance and Real Property
    Acquisition Policies Act of 1970, Title 42 USCA, Sections 4601, et. seq. may apply,
    Plaintiff should be required to comply with those applicable provisions.

22. That any order of possession be done in compliance with Title 40 USCA § 3114.

23. In the alternative, that the Court fix the time and the terms on which Plaintiff may take
    possession of the property seeking to be condemned.

24. Defendants reserve the right to receive all written notices which may be required before
    they must move off property seeking to be condemned, and in connection with that, asks
    for that to be part of the terms and conditions in any order of possession.

25. In addition, Defendants request that the Court make other just and equitable orders
    concerning ad valorem taxes and assessments of the property being condemned.

26. Defendants request a trial by jury as noted hereinabove pursuant to Rule 71.1(h)(1)(B) of
    the Federal Rules of Civil Procedure to determine just compensation of the land being
    taken and the remainders noted on the Plaintiff’s schedules, which will be severed from
    the part taken.

27. As stated above, Plaintiff refused to provide Defendants with documents evidencing how
    Plaintiff arrived at the value of the initial offer. To the extent that said “just
    compensation” does not take into consideration the remainder damages (including, but
    not limited to the riverside remainder), restricted access to riverside remainder, valuable
    characteristic of the part taken, and relocation of irrigation infrastructure, Defendants
    object and request that Plaintiff be ordered to consider the above. In the alternative,
    Defendants reserve the right to bring a claim for inverse condemnation, if necessary.

28. Answering further, Defendants reserve all rights under Title 28 USCA § 2412, the Equal
    Access to Justice Act to recover attorney’s fees for the condemnation. Also, see USA V.
    329.73 Acres of Land, et al., 704 F.2d 800 (5th Cir. 1983, en banc).

29. Defendants also reserve the right to receive additional interest on any final award of
    compensation as provided for in Title 40 USCA § 3116, to the extent applicable.

30. To the extent that the property being condemned is abandoned or the project is not
    completed, and to the extent Defendants could have a right of first refusal in any
    abandoned property at issue, Defendants hereby request the right to purchase or right of
    first refusal to the land being taken.

31. Defendants object to the extent Plaintiff may not have complied with all federal statutes
    before declaring a public purpose.



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  32. Defendants object and hereby request just compensation to the extent that Plaintiff had
      arbitrarily and/or capriciously offered more compensation to others for similarly situated
      land.

  33. Defendants object as Plaintiff failed to make a good faith effort to negotiate with
      Defendants.

  34. Defendants object as Plaintiff has failed to provide evidence to this Court that it made a
      good faith effort to negotiate with Defendants.

  35. Defendants object to the extent Plaintiff has failed to comply with the Memorandum
      Opinion entered on March 7, 2008 in U.S.A v. 1.04 Acres of Land, et al.

  36. Defendants object as Plaintiff has failed to meet all conditions precedent necessary to file
      this condemnation proceeding.

  37. Defendants object to the extent Plaintiff failed to use the unitary holding principle to
      establish severance damages for all of the remaining property of Defendants between the
      fence and the Rio Grande River.

  38. Defendants object as the deposit for the taking is inadequate.

  39. Defendants further reserve the right to file additional defenses and objections to this
      condemnation complaint if and when Defendants are provided with additional documents
      regarding the taking, project plan, and valuation; if any amendments are filed by Plaintiff;
      or if circumstances should change in any way.

WHEREFORE, PREMISES CONSIDERED, Defendants respectfully pray that:

   1. This cause be dismissed for Plaintiff’s failure to fulfill the conditions precedent required
      of Plaintiff prior to commencing this condemnation proceeding;

   2. In the alternative, that this cause be abated until Plaintiff complies with the conditions
      precedent required of Plaintiff prior to commencing this condemnation proceeding;

   3. If this cause is not dismissed, that judgment be rendered denying Plaintiff’s right to
      condemn Defendants property referenced above;

   4. In the alternative, if Defendants’ property is condemned, that the Court consider all the
      objections and defenses set out above;

   5. Defendants be allowed to recover all of their expenses for attorney’s fees in defending
      against this condemnation proceeding pursuant to the provisions of the Uniform
      Relocation Assistance and Real Property Acquisition Policies Act of 1970, 42 USC §
      4654(a)(1) if applicable, and the Equal Access to Justice Act, Title 28 USC § 2412;


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    6. Defendants request a trial by jury, pursuant to Rule 71.1(h)(1)(B) on the issue of just and
       adequate compensation; and

    7. The Court grant Defendants such other and further relief to which they may be entitled to
       receive.


                                                    Respectfully submitted,

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                                             By:    /s/ Thomas Daniel Koeneke
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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 28, 2020, a copy of the foregoing Answer was electronically
filed on the CM/ECF system, which will automatically serve a Notice of Electronic Filing on
counsel of record.

                                                    /s/ Thomas Daniel Koeneke
                                                    THOMAS DANIEL KOENEKE




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